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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

          v.                                            Criminal Action No. 21-563 (JDB)

 VICTORIA CHARITY WHITE,
         Defendant.


                              ORDER AMENDING SENTENCE

       On November 20, 2023, the Court sentenced Victoria Charity White on Count 1s of the

Superseding Indictment to eight days of incarceration, to be served on weekends, followed by a

two-year term of supervised release. As a condition of supervised release, the defendant was

ordered to serve 90 days of home detention (location monitoring).

       Upon consideration of the recommendation of the U.S. Probation Office, the Court hereby

amends the sentence as follows: White is sentenced to a two-year term of probation. As a

condition of probation, White must serve eight days of intermittent confinement, which shall be

served over four consecutive weekends, beginning at 8:00 a.m. on Saturday and ending at 8:00

a.m. on Monday, at a facility designated by the Bureau of Prisons. Following the completion of

the intermittent confinement, the defendant is ordered to serve 90 days of home detention (location

monitoring) as a condition of probation.

       SO ORDERED.



                                                                                 /s/
                                                                          JOHN D. BATES
                                                                      United States District Judge
Dated: November 22, 2023




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